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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-92
11                                Plaintiff,            STIPULATION AND PROTECTIVE ORDER RE:
                                                        DISCOVERY CONTAINING PERSONAL
12                          v.                          IDENTIFYING INFORMATION
13   WAYNE ARTHUR YORK II,
14                                Defendant.
15

16

17          IT IS HERBEY STIPULATED AND AGREED by the above-named parties that some of the
18 materials provided as discovery in this case to defense counsel are subject to a Protective Order. The

19 defendant is charged with offenses related to an alleged wire fraud scheme.

20          The parties agree that discovery in this case contains “Protected Information”: victim and
21 witness names, addresses, social security numbers, bank account information, credit card information,

22 email addresses, phone numbers, and dates of birth. The Protective Order extends to all materials

23 provided to the defense, including those concerning conduct not directly charged in the complaint.

24          Through this Stipulation, defense counsel agrees that the Protected Information is entrusted to
25 counsel only for the purposes of representing his client in this criminal case and for no other purpose.

26 Further, defense counsel agrees not to share any documents that contain Protected Information with

27 anyone other than designated defense investigators, experts, and support staff. Defense counsel will

28 have a duty to inform his defense investigators, experts, and support staff of this Order and provide them

      STIPULATION AND [PROPOSED] PROTECTIVE ORDER RE:
      DISCOVERY CONTAINING PERSONAL IDENTIFYING          1
      INFORMATION
               Case 2:16-cr-00092-DAD Document 35 Filed 05/11/16 Page 2 of 3

 1 with a copy of it. Defense counsel may permit the defendant to review the Protected Information and be

 2 aware of its contents, but defendant shall not be given control of the Protected Information or provided

 3 any copies of the Protected Information that have not been redacted of the Protected Information. Any

 4 person receiving Protected Information or a copy of the Protected Information from defendant’s counsel

 5 shall be bound by the same obligations as counsel and further may not give the Protected Information to

 6 anyone (except that the protected documents shall be returned to counsel).

 7          Counsel agrees to store Protected Information in a secure place and to use care to ensure that

 8 information is not disclosed to third parties in violation of this agreement. At the conclusion of the case,

 9 defense counsel agrees to destroy all copies of Protected Information or to return the Protected

10 Information to the United States and certify that this has been accomplished, except that counsel for the

11 defendant may retain one copy of the Protected Information in his files along with a copy of this

12 Protective Order at the conclusion of the case in the event of future litigation.

13          Notwithstanding the foregoing, counsel, staff and/or the investigators for the defendant may

14 make copies of the Protected Information for trial preparation and presentation. Any copies must,

15 however, remain in the possession of counsel, investigator, staff, expert or the court.

16          Nothing in this Stipulation and Protective Order prevents defense counsel or the defendant from

17 maintaining unredacted copies of records concerning the defendants’ own Protected Information.

18          In the event that the defendant substitutes counsel, undersigned defense counsel agrees to

19 withhold these documents form new counsel unless and until substituted counsel agrees also so be

20 bound by this order.

21

22 Dated: May 10, 2016                                         PHILLIP A. TALBERT
                                                               Acting United States Attorney
23

24                                                      By: /s/ MATTHEW G. MORRIS
                                                            MATTHEW G. MORRIS
25                                                          Assistant United States Attorney
26 Dated: May 10, 2016                                  By: /s/ CHRISTOPHER CANNON (auth 5/10/16)
                                                            CHRISTOPHER CANNON
27                                                          Attorney for WAYNE ARTHUR YORK II
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      STIPULATION AND [PROPOSED] PROTECTIVE ORDER RE:
      DISCOVERY CONTAINING PERSONAL IDENTIFYING            2
      INFORMATION
             Case 2:16-cr-00092-DAD Document 35 Filed 05/11/16 Page 3 of 3

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 2    IT IS SO ORDERED:

 3 Dated: May 11, 2016

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     STIPULATION AND [PROPOSED] PROTECTIVE ORDER RE:
     DISCOVERY CONTAINING PERSONAL IDENTIFYING         3
     INFORMATION
